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 STATE OF SOUTH CAROLINA                  )          IN THE COURT OF COMMON PLEAS 1                        ~z
                                          )          FOR THE FIITEENTH JUDICIAL CIRCUIT.
 COUNTY OF HORRY                          )          C/ANo.:                                               ~
                                          )                                                                ~
 Tracy Scola,                             )                                                                "TJ
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                                          )                    SUMMONS
                    vs.                   )             (JURY TRIAL REQUESTED)
                                          )
 City of North Myrtle Beach               )
                                          )
                                          )
                Defendant.                )                                                                :i::
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------------)                                                                                              ~

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TO THE DEFENDANT ABOVE NAMED:                                                                               I




        YOU ARE HEREBY SUMMONED and required to answer the Complaint in this action, of

which a copy is herewith served upon you, and to serve a copy of your Answer to said Complaint on

the subscribed, Mullis Law Firm, 1229 Elmwood Avenue, Post Office Box 7757, Columbia, South

Carolina 29202, within thirty (30) days after the service hereof; exclusive of the date of such service;

and if you fail to answer the Complaint within the time aforesaid, judgment by default will be rendered

against you for the relief demanded in the Complaint.




                                                        s/Pamela R. Mullis
                                                        Pamela R. Mullis
                                                        MULLIS LAW FIRM
                                                        Post Office Box 7757
Columbia, South Carolina                                Columbia, South Carolina 29202
April 29, 2021                                          (803) 799-9577
                                                        prmullis@mullislawfinn.com

                                                        ATTORNEY FOR THE PLAINTIFF
JURY TRIAL REQUESTED

 STATE OF SOUTH CAROLINA                  )          IN THE COURT OF COMMON PLEAS
                                          )          FOR THE FIFTEENTH JUDICIAL CIRCUIT
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II ,    COUNTY OF HORRY                            )          C/ANo.:                                              0
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        Tracy Scola,                               )                                                               ~
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                                                   )                COMPLAINT                                      m
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                            vs.                    )            (JURY TRIAL REQUESTED)                             N
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        City of North Myrtle Beach,                )
                                                   )
                                                   )
       ____________      Defendant.                )
                                                   )

              Plaintiff would respectfully show unto the Court as follows:

              1.         The Plaintiff is a citizen and resident of the County of Hony, State of South Carolina.
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              2.         The Defendant City of North Myrtle Beach (hereinafter "City") is upon infolDlation        s:
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       and belief, a governmental entity organized and existing pursuant to the laws of the State of South         "'C


       Carolina and does conduct business in and does maintain agents, servants, and employees in the              i
       County of Horry, State of South Carolina.

              3.         At all times herein mentioned and in regard to all matters herein mentioned the

       Defendant acted by and through its agents, servants, and employees, who were at all times acting

       within the course and scope of their agency and employment and for whose acts or omissions the

       Defendant is liable, as an employer subject to the applicable discrimination laws included and

       alleged herein.

              4.         The Plaintiff was a 51 year old, (at the time oftemination) female with no religious

       affiliation who was employed on or about May 2008, by Defendant as an Assistant Clerk of Court

       who was performing the essential functions of and Assistant Municipal Judge. Plaintiff was not
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paid for the position of Assistant Judge despite performing the duties of said job. Plaintiff is in a      0
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protected class pursuant to the applicable discrimination laws included and alleged herein.                ~
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        5.      Plaintiff was 'preached to' by other employees and infonned by her supervisor and          ::!!
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a coworker that a particular coworker did not like her "lifestyle", the Plaintiff is a divorced, non-       I

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religious individual and believes this is code for the Plaintiff's religious beliefs were not acceptable

to her co-workers and supervisors. Furthermore Plaintiff was excluded from department notices,

emails and correspondence due to the employees and her supervisor's opinions of the Plaintiff's

religious beliefs. Plaintiff was also treated differently related to job benefits from her co-worker       '
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with same religious views as their supervisors.         Said exclusion and disparate treatment was         !I



harassing and created a hostile work environment.

       6.       Plaintiff voiced her concerns regarding the disparate treatment to multiple

supervisors, but no corrective action was taken to stop the treatment of the Plaintiff, and the

Plaintiff's department head then became directly involved with annual reviews being done by the

Plaintiff's direct supervisor.

       7.       Plaintiff was told on occasion that she was one of her supervisor's "type" these

comments along with the supervisor's actions in being know for improperly touching similar

females created a hostile work environment for the Plaintiff.

       8.       On May 12, 2020 Plaintiff was discharged from her job after weeks of furlough,

and Plaintiff believes the termination and furlough were not related to the stated reasons but were

pretext for discrimination and retaliation for complaining about the disparate treatment.

       9.      The Plaintiff asserts she is in a protected class, performing her job at a satisfactory

level which was higher than the performance level of multiple individuals who were not in a


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     protected class when she was wrongfully furloughed and then tenninated by the Defendant Said
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     actions of the Defendant created a remaining workforce, not in a protected class, that did not meet
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     the same standards as the Plaintiff.                                                                       r=
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             I 0.   Upon information and belief, Plaintiff was discriminated against and subjected _to           I




     adverse employment actions, furloughed and terminated due to a her sex, age, and religion in
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     violation of Title VII and the applicable law.

                                   FOR A FIRST CAUSE OF ACTION
                                         DISCRIMINATION
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             11..   Plaintiff incorporates by reference any and all allegations as if set forth here in full.   :;;o
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             12.    The conduct by Defendant constitutes discrimination on the basis of Plaintiff's sex,        0
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                                                                                                                3:
     age and/or religion including but not limited to the foregoing allegations and the following               s::
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     particulars:                                                                                               "1J


                    a.      By being subjected to accusations and/or on going comments related to               ~I


                            inappropriate conduct with female staff with her same physical profile
                            because of her supervisor who was a white male;
                    b.      By denying Plaintiff raises and promotions related to her performance and
                            giving said job benefits to an individual with similar religious beliefs;
                    C.      By furloughing the Plaintiff who was in a revenue producing position for
                            the Defendant while the Defendant claimed they were in need of revenue
                            and claiming the I)efendant City did not qualify for federal relief during the
                            pandemic;
                    d.      By terminating Plaintiff without cause for discriminatory reasons;
                    e.      and in such other particulars as the evidence at trial may show.

             13.    Plaintiff has received a Right.to-Sue Notice from SCHAC and institutes this action

     within one hundred twenty days of receipt thereof.


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             14.      As a result of the wrongful actions of the Defendant which injured the Plaintiff, the       ~
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     Plaintiff is informed and believes, she is entitled to an entry of judgment to include all amounts           ~
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     provided for by law including, but not limited to, actual damages, compensatory and punitive                 ::!!
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     damages, reinstatement or front pay, costs, interest, and attorney fees for the violation of Title VII       N
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     of the Civil Rights Act of 1964, Age Discrimination in Employment Act of 1967, and any other

     applicable laws.

                                   FOR A SECOND CAUSE OF ACTION
                                            RETALIATION                                                            I

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             15.      Plaintiff incorporates by reference any and all allegations as if set forth here in full.   ::0
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             16.      Plaintiff was an employee provided protection pursuant to law as a woman, due to            0
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     her age and in violation of the right to free worship.                                                       :1::
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             17.      Plaintiff reported said discriminatory conduct of her employer to the city manager          "'O


     and in tum was refused raises and promotions that other co-workers with different religious beliefs          ~
     were granted and said employment actions which were pretext for discrimination and relation.

             18.      Plaintiff was subjected to a hostile work environment and refused regular

     promotions when she complained about the discriminatory treatment she was retaliated against by

     the Defendant.

             19.      The Defendant retaliated against the Plaintiffby furloughing her, and firing her for

     complaints about the disparate treatment.

            20.       As a result of the wrongful actions of the Defendant which injured the Plaintiff, the

     Plaintiff is informed and believes, she is entitled to an entry of judgment to include all amounts

     provided for by law including, but not limited to, actual damages, compensatory and punitive

     damages, reinstatement or front pay, costs, interest, and attorney fees for the violation of Title VII

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of the Civil Rights Act of 1964, Age Discrimination in Employment Act of 1967, and any other                 0
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applicable laws.                                                                                             ~
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                               FOR A THIRD CAUSE OF ACTION                                                    I


                                  BREACH OF CONTRACT                                                         ~
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        21.     Plaintiff incorporates by reference any and all allegations as if set forth here in full.

        22.     Upon information and belief, Defendant maintains mandatory policies and

procedures for providing leaves of absence and reinstatement at the conclusion of the leave, which

are binding and enforceable as a contract.

        23.     Defendant's Policies and procedures create a binding contract of employment

which the Defendant failed to disclaim in a conspicuous manner in compliance with South

Carolina law.

       24.      Defendant breached its contract by furloughing and the tenninating Plaintiff in the

manner that it did and by failing to comply with their own Policies and procedures.

       25.      As a result of the wrongful actions of the Defendant which injured the Plaintiff, the

Plaintiff is informed and believes, she is entitled to specific performance, an award of lost wages,

lost fringe benefits, and other actual and consequential damages resulting from the breach

complained of herein, front pay, and all other and further relief as to this Court appears necessary

and proper, including, but not limited to, the costs of this action and interest.

                     FOR A FOURTH CAUSE OF ACTION
          BREACH OF CONTRACT ACCOMPANIED BY FRAUDULENT ACT

       26.      Plaintiff incorporates by reference any and all allegations as. if set forth here in full.

        27.     Def~ndant breached its contractual obligations to Plaintiff as set forth above.
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             28.     Defendant breached said obligations with fraudulent intent, and concocted
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     fraudulent reasons for the breach as evidenced by circumstances surrounding the breach in

     claiming the Plaintiff was being furloughed and terminated because of the financial constraints of
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     the Defendant, as the Plaintiff was in an income producing job with the Defendant and the                   N
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     Defendant, upon infonnation and belief received federal relief funds.
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             29.     Defendant committed one or more fraudulent acts accompanying the breach, as                 CD
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     evidenced by such acts occurring prior to, contemporaneous with, or subsequent to the various               "'IJ
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     breaches of contract.                                                                                       :::c
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             30.     As a result of the wrongful actions of the Defendant which injured the Plaintiff, the       ~I
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I.   Plaintiff is informed and believes, she is entitled to all available relief including, but not limited
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     to, an award of lost wages, lost fringe benefits, and other actual and consequential damages

     resulting from the breaches complained of herein, front pay, compensatory and punitive damages,

     costs and interest.

                              FOR A FIFfH CAUSE OF ACTION
                   BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

             31.     Plaintiff incorporates by reference any and all allegations as if set forth here in full.

             32.     In administering its contractual obligations to Plaintiff, Defendant failed to deal

     fairly with Plaintiff or to act in good faith, breaching a covenant to do so implied and expressed in

     the parties' agreements by concocting a reason for furlough and termination of the Plaintiff while

     upon information and belief accepting federal relief funding.

            33.      Plaintiff has been damaged by Defendant's breach of the covenant of good faith

     and fair dealing.



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.,
             34.     As a result of the wrongful actions of the Defendant which injured the Plaintiff, the

     Plaintiff is informed and believes, she is entitled to all available relief including, but not limited

     to, an award of lost wages, lost fringe benefits, and other actual and consequential damages

     resulting from the breaches complained of herein, front pay, compensatory and punitive damages,

     costs and interest.
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             WHEREFORE, Plaintiff prays for judgment against the Defendant for damages, costs, as             .,..~
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     stated above and for such other and further relief as the Court may deem just and proper in excess of    "O
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     Fifty Thousand ($50,000.00) Dollars.                                                                     ::c
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                                                                                                              31:
                                                           s/Pamela R. Mullis
                                                           Pamela R. Mullis                                   ~
                                                                                                              "O
                                                           MULLIS LAW FIRM
                                                           Post Office Box 7757
                                                           Columbia, South Carolina 29202                     i
     April 29, 2021                                        (803) 799.9577
     Columbia, South Carolina                              prmullis@mullislawfinn.com


                                                           ATTORNEY FOR THE PLAINTIFF


     JURY TRIAL REQUESTED.
